
Upon consideration of the petition filed by Respondent-Intervenor on the 27th day of August 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*478"Denied by order of the Court in conference, this the 8th day of November 2007."
Upon consideration of the petition filed on the 11th day of September 2007 by Respondent-Intervenor in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
